 1
 2    James K. Miersma, WSBA 22062                         Honorable Judge Timothy W. Dore
      McCarthy & Holthus, LLP                              Hearing Location: Seattle
 3
      108 1st Avenue South, Ste. 300                       Hearing Date: 9/11/2020
 4    Seattle, WA 98104                                    Hearing Time: 9:30 A.M.
      Phone (206) 596-4856                                 Response Date: 9/4/2020
 5
      Fax (206) 274-4902
 6
 7                              UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF WASHINGTON
 8
 9    IN RE                                                CASE NO. 20-11870 – TWD
10
                                                           CHAPTER 7
11    Nicholas Clifton Barnard,
                                                           RESPONSE OF SANTANDER
12                  DEBTOR.                                CONSUMER USA INC. TO DEBTOR’S
13                                                         MOTION TO REDEEM COLLATERAL

14
              Santander Consumer USA Inc. (Creditor), a secured creditor in the above matter, in
15
     response to the Debtor’s motion to redeem the 2013 Ford C-Max VIN: 1FADP5CU7DL531019
16
17   (“Vehicle”) by its attorneys, James K. Miersma and McCarthy Holthus, LLP, responds and

18   objects to the Debtors’ motion for the following reasons:
19
            The Debtor’s proposed redemption amount of $2,400.00 does not reflect a fair market
20
     value. The $2,400.00 valuation proposed by Debtor appears to be based on a Kelly Blue Book
21
22   valuation to a private party in good condition being reduced by costs to repair the current damage

23   to the vehicle. (See Debtor’s Vehicle Condition/Valuation Report, filed by Debtor as Exhibit A
24   and B to the Motion to Redeem Collateral, Docket 15.) Under the provisions of 11 USC 506 the
25
     starting point for valuation of the collateral should be retail value.
26
27          In addition, it appears that Debtor’s Exhibit B suggests that the vehicle was involved in

28   an accident and the Debtor is seeking to reduce the value by the amount it will take to repair the
29   accident damage. If, in fact, there was an accident, there is no information provided explaining

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 1   whether or not an insurance claim was filed and what insurance proceeds were recovered by the
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     Debtor. If no claims were filed, there is no explanation for why no claim was filed. The overall
 3
     valuation of the Vehicle should not be reduced if the Debtor chose not to file an insurance claim
 4
 5   if there was an accident.

 6          Creditor values this vehicle at $8,050.00 based on the attached N.A.D.A. (See attached
 7   N.A.D.A. as Exhibit 1). This valuation factors in the mileage on the vehicle. This valuation uses
 8
     the retail valuation as prescribed in 11 USC 506.
 9
            Without an actual inspection of the Vehicle, further information on whether there was an
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11   accident and resulting insurance proceeds, or additional explanation on why the Debtor’s
12   proposed value is more reliable than Creditor’s, the Debtor’s value is insufficient to sustain this
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     motion and should be denied.
14
                                           CONCLUSION
15
16          Because the Debtor has provided an insufficient valuation of $2,400.00 on the vehicle,

17   the Debtor’s motion should be denied unless some reasonable and fair market value of the
18
     vehicle can be determined.
19
20
21          Dated: 8/26/2020                               McCarthy & Holthus, LLP
22
23                                                       By:    /s/ James K. Miersma
                                                                 James K. Miersma
24
                                                                 Attorney for Respondent
25                                                               Santander Consumer USA Inc., its
                                                                 assignees and/or successors, by and
26                                                               through its servicing agent Stewart,
27                                                               Zlimen & Jungers, Ltd.

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                                                    CERTIFICATE OF SERVICE


        On 8/26/2020, I served the foregoing OPPOSITION TO DEBTOR’S MOTION FOR VALUATION OF SECURITY on the
following individuals by electronic means through the Court’s ECF program

        TRUSTEE                                    DEBTOR(S) COUNSEL
        Ronald G. Brown                            Michelle Carmody Kaplan
        rgblaw@nwlink.com                          michelle@kaplanlawpllc.com




I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

                                                                           /s/ Andrei Mihai
                                                                           Andrei Mihai


         On 8/26/2020, I served the foregoing OPPOSITION TO DEBTOR’S MOTION FOR VALUATION OF SECURITY on the
following individuals by depositing true copies thereof in the United States mail at San Diego, California, enclosed in a sealed envelope,
with postage paid, addressed as follows:

        DEBTOR(S)
        Nicholas Clifton Barnard, 6806 Oswego PL NE #101, Seattle, WA 98115



        I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

                                      Dated: 8/26/2020                     /s/ Hue Banh
                                                                           Hue Banh




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